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                 EXHIBIT C
8:22-cv-01660-AEP              Document 77-3                  Filed 07/20/23             Page 2 of 4 PageID



         From:                    Chris Wolf <cwolf@mutualmortgage.com>
        Sent:                     4/19/2022 7:30:49 PM -0500
                                  Dawson Walker <dawson.walker@waterstonemortgage.com>
         To:
         Subject:                 Fwd: Fwd: title commitment
        Attachments:              T Updated Commitment 2 Oceans West Blvd #606(5).pdf
                                    -




          Chris Wolf
          Vice President of Mortgage Lending
          Mobile: (321) 278-9930
          Office: (386) 742-0555
          Fax:          426-2668
          900 W. Granada Blvd, Suite 4
          Ormond Beach, FL 32174
          NMLS # 1626538




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        Mutual of Omaha Mortgage, Inc. NMLS: 1025894

         a

        From: Rosana Scaccia Realtor <therealestaterose@yahoo.com>
                                            -




        Sent: Tuesday, April 19, 2022 7:30:31 PM
        To: Svetlana Hardwick (Wolves Realty) <a11318tr1718553s87530@trfit.com>; Svetlana Hardwick
        <shardwick@wolvesrealty.com>; Dawson Walker <dwalker@mutualmortgage.com>
        Subject: title commitment




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        Rosana Scaccia Realtor
        Realty Pros Assured
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